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                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS

 PROXENSE, LLC,

                   Plaintiff,                          Civil Action No. 6:21-CV-00210-ADA

 v.

 SAMSUNG ELECTRONICS, CO., LTD. and                        JURY TRIAL REQUESTED
 SAMSUNG ELECTRONICS AMERICA, INC,

                   Defendants.


           ORDER CONCERNING FINAL PRETRIAL CONFERENCE MOTIONS


       Before the Court are Proxense LLC’s (“Proxense”) and Samsung Electronics, Co., Ltd. and

Samsung Electronics America, Inc.’s (“Samsung”) motions for summary judgment, Daubert

motions, motion to strike, and the parties’ respective motions in limine. The Court held a Final

Pretrial Conference concerning these motions on January 3, 2022. During that hearing, the Court

heard oral arguments and provided oral rulings on each of the motions. The Court now enters those

rulings.
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           Defendant Samsung’s Motion to Strike the Supplemental
               Expert Report of Dr. Aviel Rubin [ECF No. 148]

                   Motion                                 Ruling
Motion to Strike the Supplemental Expert Denied. Samsung may depose Dr. Rubin and
Report of Dr. Aviel Rubin                submit a supplemental expert report by Dr.
                                         Nielson. Proxense may then depose Dr.
                                         Nielson.




    Defendant Samsung’s Motions for Summary Judgment [ECF No. 94]

                    Motion                                    Ruling
Samsung Devices With The Stub App Do Not Denied, but at the end of Proxense’s case,
Infringe, Directly Or Indirectly           Samsung can re-urge this as a JMOL for lack
                                           of evidence, and Proxense should be prepared
                                           with evidence in the transcript for the court’s
                                           determination.
No Direct Infringement For Asserted Method Denied.
Claims
No Infringement Of Method Claims For Denied, but at the end of Proxense’s case,
Devices For Which There Is No Evidence Of Samsung can re-urge this as a JMOL for lack
A Registered Debit/Credit Card             of evidence, and Proxense should be prepared
                                           with evidence in the transcript for the Court’s
                                           determination.
No Infringement Prior To October 2020      Denied, but at the end of Proxense’s case,
                                           Samsung can re-urge this as a JMOL for lack
                                           of evidence, and Proxense should be prepared
                                           with evidence in the transcript for the Court’s
                                           determination.




  Plaintiff Proxense, LLC’s Motions for Summary Judgment [ECF No. 97]


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                    Motion                                      Ruling
Claim 5 Of The 730 Patent Does Not Violate Denied as Moot: Samsung has withdrawn any
35 U.S.C. § 112 ¶ 4                         argument pertaining to whether Claim 5 of the
                                            730 Patent violates 35 U.S.C. § 112 ¶ 4.
There are no disputes of material fact with Denied.
respect to whether the term “Persistently
Storing” Is Indefinite
Samsung’s Theory That the phrase “One Or Denied as Moot: Samsung has withdrawn any
More Codes and Other Data Values” Is argument that “The One or More Codes and
Indefinite Is Improper and Unsupported      Other Data Values” is indefinite.
Samsung Has Not Offered Any Analysis Or Denied as Moot: Samsung has withdrawn any
Evidence That The Asserted Patents Lack argument that the phrases “Persistently
Enablement As To The Terms “Persistently Storing” and “Unable to be Subsequently
Storing” And “Unable To Be Subsequently Altered” lack enablement.
Altered”
Samsung’s Theory Regarding “Smartphone” Denied.
Is Improper And Unsupported
None Of The Asserted Claims Trigger Divided Granted.
Infringement


Defendant Samsung’s Motion To Exclude Expert Opinions of M. Laurentius
             Marais and Jennifer Vanderhart [ECF No. 95]

                  Motion                                  Ruling
Motion To Exclude Expert Opinions of M. Denied at this time. After Marais testifies,
Laurentius Marais and Jennifer Vanderhart Samsung may move to voir dire Vanderhart on
                                          apportionment.



Plaintiff Proxense’s Motion to Exclude Testimony of Defendants’ Expert Dr.
                           Nielson [ECF No. 98]

                  Motion                                  Ruling
Daubert Motion To Exclude Testimony Of Denied. If Samsung presents section 101
Defendants’ Expert Dr. Nielson         evidence to the jury, they waive JMOL for
                                       Alice step 1. Alternatively, Samsung may
                                       present section arguments as a bench legal
                                       issue, with presentation of expert testimony.
                                       Samsung may also submit for consideration a
                                       memo of discussing cases that permit the
                                       defendant to present both positions at trial. 1


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      Samsung has filed this brief as ECF No. 157.


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          Plaintiff Proxense, LLC’s Motions in Limine [ECF No. 132]

                    Motion                                          Ruling
Proxense’s MIL 1 to Exclude Evidence or The parties may object if the opposing party
Argument Related to any Unelected Prior Art offers argument or evidence not in an expert
                                                report.
Proxense’s MIL 2 to Exclude Evidence or The parties may object if the opposing party
Argument Related to any Alleged Non- offers argument or evidence not in an expert
infringing Alternative not Disclosed in Expert report.
Reports or were not Acceptable or Available
During the Relevant Period for Damages
Calculations
Proxense’s MIL 3 to Exclude Argument or The parties may object if the opposing party
Evidence Related to any Expert Theories or offers argument or evidence not in an expert
Opinions that were not Timely Disclosed in report. Denied as to Samsung’s argument
Final Invalidity Contentions                    regarding “smartphone.”
Proxense’s MIL 4 to Exclude References to Granted. No argument made in any pre-trial
Claims, Patents, Defenses, Theories that are no motion will be discussed during trial. See Jan.
Longer at Issue for Trial, Including 3, 2023, Tr. at 132:20-24.
Characterizations of Legal Arguments made in
any Pre-trial Motions
Proxense’s MIL 5 to Exclude Reference to the Granted.
Relative Importance of Claim Elements,
Including any Statement that any Specific
Claim Element is More Important than Others
Proxense’s MIL 6 to Exclude any Evidence, Granted in part; Denied in part. Parties are
Testimony, Argument, or Suggestion precluded from introducing evidence or
Disparaging Proxense for not Successfully argument disparaging the opposing party. The
Selling or Licensing the Patents                parties are permitted to introduce evidence
                                                regarding Proxense’s attempts to sell or license
                                                the patents in suit. See Jan. 3, 2023, Tr. at
                                                133:15-134:10.
Proxense’s MIL 7 to Exclude any Reference Granted-in-part, denied-in-part. Granted to
that Because Proxense has not Accused or exclude any implication that any third party is
Sued a Third Party of Infringing the Patents- not infringing because it hasn’t been sued.
in-Suit, that the Accused Products do not Samsung may still present expert opinion that
Infringe or that Another Party’s Products Are certain alternatives are noninfringing if they
Non-Infringing Alternatives                     provide a technical basis for the
                                                noninfringement opinion.
Proxense’s MIL 8 to Exclude References to Granted in part; Denied in part. Samsung may
any of Samsung’s Patents; Including any speak at a macro level about its innovation
Statement Implying that Samsung’s Patents history and that Samsung values patents.
also Cover the Accused Products



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Proxense’s MIL 9 to Exclude Evidence or             Proxense may object if Samsung’s damages
Argument Related to Other Patents as a              expert presents opinions that implicate royalty
Defense to Damages Due to “Royalty                  stacking. See Jan. 3, 2023, Tr. at 139:10-13.
Stacking”
Proxense’s MIL 10 to Exclude Evidence or            Denied.
Argument that the Damages Claimed are
Unprecedented or Outrageous
Proxense’s MIL 11 to Exclude any Argument           Granted.
Relating to Proxense’s Other Agreements
Proxense’s MIL 12 to Exclude References to          Denied.
Samsung’s Reputation in the Industry,
Innovation, or Philanthropy
Proxense’s MIL 13 to Exclude References to          Granted. But if a witness opens the door,
Prior Judicial Opinions Pertaining to any of        parties may approach the bench.
Proxense’s Expert Witnesses
Proxense’s MIL 14 to Exclude Evidence or            If a party wishes to make a discovery
Argument Related to any Source Code or              argument, they will approach the bench
Source Code Version that was not Produced in        beforehand. See Jan. 3, 2023, Tr. at 86:11-14.
this Litigation
Proxense’s MIL 15 to Exclude any Evidence           Denied.
or Argument Related to the Pocket Vault
System, Including any Attempts to Introduce
Physical Exhibits of Pocket Vault Devices
Proxense’s MIL 16 to Preclude Samsung               Granted in part. Post-NDA communications
from Arguing that the Parties’ Non-Disclosure       are excluded. If Samsung wants to violate the
Agreement Precludes any Claim for Willful           MIL to discuss post-NDA communications,
Infringement or that Proxense Cannot Discuss        that will open the door for Proxense to violate
the Parties’ Post-NDA Discussions                   the NDA. See Jan. 3, 2023, Tr. at 157:11-22.
Proxense’s MIL 17 to Exclude References to          Granted.
the Pending Ex Parte Reexamination of the
Patents-in-Suit
Proxense’s MIL 18 to Exclude Evidence or            Granted.
Argument that a Damages Award to Proxense
Would Cause a Loss of Jobs, Increase Prices
for Products, or Create Other Economic or
Financial Consequences

            Defendant Samsung’s Motions in Limine [ECF No. 126]

                   Motion                                       Ruling
Samsung’s MIL 1 to Exclude Evidence or Granted in part. Post-NDA communications
Argument by Proxense that is Subject to the are excluded. If Samsung wants to violate the
Parties’ Non-Disclosure Agreement           MIL to discuss post-NDA communications,
                                            that will open the door for Proxense to violate
                                            the NDA. See Jan. 3, 2023 Tr. at 157:11-22



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Samsung’s MIL 2 to Exclude Evidence or             Denied as to the publicly-available
Argument Related to the Amount for which           information regarding the LoopPay
Samsung Acquired LoopPay                           acquisition.
Samsung’s MIL 3 to Exclude Evidence or             The parties may object if the opposing party
Argument Relating to Patent Valuations Based       offers argument or evidence not in an expert
on Public Information on Which Neither             report.
Damages Expert Relies
Samsung’s MIL 4 to Exclude Evidence or             If a party wishes to make a discovery
Argument that any Purported Discovery              argument, they will approach the bench
Deficiencies Limited Proxense’s Ability to         beforehand. See Jan. 3, 2023, Tr. at 86:11-14.
Prove its Case
Samsung’s MIL 5 to Exclude Evidence or             Granted.
Argument Relating to the Results of Patent
Office Proceedings Involving the Asserted
Patents
Samsung’s MIL 6 to Exclude Evidence or             Granted in part. If Proxense believes there is
Argument Relating to Samsung’s Overall             something that needs to come in, they may
Sales, Profits, Revenues, Size, Financial          approach the bench. See Jan. 3, 2023, Tr. at
Resources, or Executive Compensation               164:15-18.
Samsung’s MIL 7 to Exclude Evidence or             Denied.
Argument Relating to Samsung’s Status as a
Foreign Company
Samsung’s MIL 8 to Exclude Evidence or             Granted.
Argument Relating to Unaccused Samsung
Products and other Lawsuits in which
Samsung has been Involved
Samsung’s MIL 9 to Preclude Proxense and           Denied.
its Experts from Testifying about a
Construction of “Third-Party” not Adopted by
the Court
Samsung’s MIL 10 to Preclude Proxense’s            Granted. The parties may object if the
Experts from Offering Opinions not Included        opposing party offers argument or evidence
in their Expert Reports                            not in an expert report.
Samsung’s MIL 11 to Exclude any Argument,          Granted.
Evidence, Testimony, or Reference Claiming
that Samsung “Copied,” “Stole,” or “Pirated”
the Asserted Patents and Proxense’s
Technologies
Samsung’s MIL 12 to Exclude Evidence or            Granted.
Argument       that     Samsung’s    Alleged
Infringement Harmed Proxense’s Business
Samsung’s MIL 13 to Exclude Argument               Denied.
Regarding the Presumption of Validity
Samsung’s MIL 14 to Exclude Evidence or            Denied.
Argument Regarding Theories of Infringement
not in Proxense’s Infringement Contentions


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 Samsung’s MIL 15 to Exclude Evidence or Denied as moot because Plaintiff’s counsel
 Argument Contending the Asserted Patents are represented to the Court he's not going to argue
 Essential to any Standard                     that they are standard essential based on any
                                               EMVCo standard.
 Samsung’s MIL 16 to Exclude any Denied.
 Statements Related to a Witness’s Choice to
 Testify in his or her Native or Chosen
 Language
 Samsung’s MIL 17 to Exclude Evidence, Granted.
 Argument, Testimony, Insinuation, or
 Assertion that Samsung had a Duty to Obtain
 an Opinion of Counsel Letter and by not Doing
 so Infringement is Willful
 Samsung’s MIL 18 to Exclude Evidence or The parties may approach the bench if this
 Argument that Samsung Agreed that Samsung issue arises at trial.
 Pay had “16+M Registered Users”


SO ORDERED and SIGNED this 12th day of January, 2023.




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